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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)


    PAUL HASTINGS LLP
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    New York, New York 10166
    Kris Hansen (admitted pro hac vice)

    -and-

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    Matthew M. Murphy (admitted pro hac vice)
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    Michael D. Sirota
    Warren A. Usatine
    Seth Van Aalten (admitted pro hac vice)
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    Houston, Texas 77002
    (713) 715-1666
    Lenard M. Parkins (admitted pro hac vice)
    Charles M. Rubio (admitted pro hac vice)

    Counsel to Ad Hoc Committee of Supporting
    Counsel
                                                           Case No. 23-12825
    In re:
                                                           Chapter 11
                                          1
    LTL MANAGEMENT, LLC ,
                                                           Hearing Date and Time:
                                           Debtor.         July 11, 2023 at 10:00 AM

                                                           Judge: Michael B. Kaplan



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 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.
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           NOTICE OF MOTION OF THE AD HOC COMMITTEE OF
     SUPPORTING COUNSEL TO FILE UNDER SEAL AND REDACT CERTAIN
   INFORMATION IN FIRST SUPPLEMENTAL VERIFIED STATEMENT OF PAUL
       HASTINGS LLP, COLE SCHOTZ P.C., AND PARKINS & RUBIO LLP
                 PURSUANT TO BANKRUPTCY RULE 2019

         PLEASE TAKE NOTICE that, on July 11, 2023 at 10:00 a.m., or as soon thereafter as

counsel may be heard, a hearing on the Motion of the Ad Hoc Committee of Supporting Counsel

to File Under Seal and Redact Certain Information in First Supplemental Verified Statement of

Paul Hastings LLP, Cole Schotz P.C., and Parkins & Rubio LLP Pursuant to Bankruptcy Rule

2019 (the “Motion”) will be held before the Honorable Michael B. Kaplan, Chief United States

Bankruptcy Judge, in Courtroom #8 of the United States Bankruptcy Court for the District of New

Jersey (the “Bankruptcy Court”), 402 East State Street, Trenton, New Jersey 08608.

         PLEASE TAKE FURTHER NOTICE that the Motion sets forth the relevant factual

bases upon which the relief requested should be granted. A proposed Order granting the relief

requested in the Motion is also submitted herewith.

         PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-2 and the

Order Establishing Case Management and Administrative Procedures [Docket No. 554] (the

“Case Management Order”), responsive papers, if any, must be filed with the Clerk of the

Bankruptcy Court, Clarkson S. Fisher Courthouse, 402 East State Street, Trenton, New Jersey

08608, and served upon (a) the Debtor’s counsel, (b) counsel to the Official Committee of Talc

Claimants, (c) the legal representative for future talc claimants and her counsel, (d) counsel to the

Ad Hoc Committee of Supporting Counsel, (e) the Office of the United States Trustee for the

District of New Jersey and (f) the other parties on the Master Service List established by the Case

Management Order no later than seven (7) days prior to the hearing.



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         PLEASE TAKE FURTHER NOTICE that only those responses or objections that are

timely filed, served, and received will be considered at the Hearing. Failure to file a timely

objection may result in entry of a final order granting the Motion as requested by the Debtors.

         PLEASE TAKE FURTHER NOTICE that unless responses are timely filed and served,

the Motion shall be decided on the papers in accordance with D.N.J. LBR 9013-3(d), and the relief

requested may be granted without further notice or hearing.

Dated: June 16, 2023                 COLE SCHOTZ P.C.


                                             /s/ Michael D. Sirota
                                             Michael D. Sirota (NJ Bar No. 014321986)
                                             Warren A. Usatine (NJ Bar No. 025881995)
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                                             – and –

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                                      – and –

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                                      Counsel to Ad Hoc Committee
                                      of Supporting Counsel




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